Fill in this information to identify your case:


United States Bankruptcy Court for the:

EASTERN DISTRICT OF OKLAHOMA

Case number (if known)                                                        Chapter      11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                C M Heavy Machinery, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          AKA CM Heavy Machinery, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  11097 Highway 27
                                  Okemah, OK 74859
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Okfuskee                                                          Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.cmhm.com/


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                                              Document     Page 1 of 55
Debtor    C M Heavy Machinery, LLC                                                                    Case number (if known)
          Name


7.   Describe debtor's business       A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                              5324

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
                                         Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number

10. Are any bankruptcy cases             No
    pending or being filed by a
                                         Yes.
    business partner or an
    affiliate of the debtor?




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 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                                                             Document     Page 2 of 55
Debtor    C M Heavy Machinery, LLC                                                                      Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                        Debtor                                                                    Relationship
                                                   District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                             preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                      It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                      Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                      No
                                                      Yes. Insurance agency
                                                              Contact name
                                                              Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                   Funds will be available for distribution to unsecured creditors.
                                                   After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                           50-99                                           5001-10,000                                50,001-100,000
                                           100-199                                         10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                            $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




                   Case 24-80617                  Doc 1         Filed 08/08/24 Entered 08/08/24 00:39:17                                Desc Main
 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                                                  Document     Page 3 of 55
Debtor   C M Heavy Machinery, LLC                                                                  Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        August 8, 2024
                                                  MM / DD / YYYY


                             X /s/       Clint Meadors                                                     Clint Meadors
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    President




18. Signature of attorney    X /s/ Maurice VerStandig                                                      Date    August 8, 2024
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Maurice VerStandig
                                 Printed name

                                 The VerStandig Law Firm, LLC
                                 Firm name

                                 9812 Falls Road, #114-160
                                 Potomac, Maryland 20854
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (301) 444-4600               Email address      mac@mbvesq.com

                                 District of Columbia - MD18071
                                 Bar number and State




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 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
                                                           Document     Page 4 of 55
                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA

In re:                              )                           Case No. 24-80617
                                    )                           (Chapter 11)
C M HEAVY MACHINERY, LLC            )
                                    )
            Debtor.                 )
____________________________________)

                      NOTES ACCOMPANYING PETITION,
               SCHEDULES, AND STATEMENT OF FINANCIAL AFFAIRS

         1.     As disclosed on Schedule A/B, C M Heavy Machinery, LLC (“CMHM” or the

“Debtor”) holds a checking account, at Mabrey Bank, with a current balance of $114,331.61.

Insofar as Mabrey Bank is not a creditor of CMHM, and insofar as no creditor of CMHM is

believed to hold an account control agreement as it relates to this checking account, it is the

position of CMHM that there does not presently exist a validly perfected lien on the bank account

balance. See 12A Okl. St. § 1-9-312; 12A Okl. St. § 1-9-314. As such, it is the position of CMHM

that the monies held in this account do not constitute the cash collateral of any creditor and,

accordingly, no motion for leave to utilize cash collateral is being filed at the present time.

However, should any creditor contact undersigned proposed counsel with evidence of there being

an account control agreement in place, the Debtor will promptly file a motion pursuant to Section

363(c)(2) of Title 11 of the United States Code, seeking leave to use cash collateral. It is very much

not the intent of CMHM to avoid bringing such a motion but, rather, the good faith belief of

CMHM that such a motion is not properly filed at the present time because (i) the at-issue

depository institution is not a creditor herein; and (ii) no creditor appears to have an account control

agreement.

         2.     Pre-petition, a dispute arose between CMHM and the individual who maintained

the books and records of CMHM. This dispute has resulted in books and records not being

                                                   1

   Case 24-80617        Doc 1     Filed 08/08/24 Entered 08/08/24 00:39:17              Desc Main
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reasonably current in nature and the Debtor lacking financial records of a reliable quality as of

present. The Debtor will be shortly seeking to identify and engage a third-party bookkeeper, both

so as to allow more refined records to be presented in connection with this case and, too, to ensure

CMHM can rely upon up-to-date and properly-maintained financial records in the future. If the

engaged bookkeeper is asked to carry on any activities in the nature of an accountant or

professional person, appropriate leave of court will be sought pursuant to Section 327 of Title 11

of the United States Code.

       3.      The Debtor has not filed tax returns for the calendar years 2022 or 2023. Preparing

and filing such returns will be prioritized post-petition and CMHM understands that such needs to

be undertaken in an expedient-but-deliberate manner.

       4.      Core to this case is a large insurance claim stemming from the loss to fire of

property being stored in North Carolina. The Debtor reasonably believes this insurance claim to

have a value in excess of $10 million. Unfortunately, as a seemingly direct consequence of this

claim being made—and at least one other insured loss being recently suffered—CMHM is

presently without certain policies of insurance. Of even date herewith, the Debtor has conferred

with an insurance broker and steps are being taken to expediently secure a policy of general

liability insurance together with such other products as may be appropriate.

       5.      Clint Meadors (“Mr. Meadors”), the principal of CMHM, has not recently drawn a

formal salary for his work with the Debtor. As financial records are examined and the Debtor’s

cash position and receivables come into sharper relief, it is reasonably anticipated Mr. Meadors

will commence drawing an industry-appropriate salary insofar as he is no longer permitted to take

equity draws and insofar as he is the Debtor’s sole working employee, being essential both to

assistance with this Chapter 11 case and the day-to-day operations of CMHM. When Mr. Meadors



                                                 2

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commences taking such a salary, notice will be given—in advance—of the size and frequency of

such payments. It is the Debtor’s position that such will constitute the retention of an executive in

the ordinary course of business, but the Debtor is nonetheless willing to file a formal motion, under

Section 363(b) of Title 11 of the United States Code, for leave to commence such salary payments,

should any party in interest suggest such to be desired.

       6.      Quite often, small business debtors enter Chapter 11 with operational flaws. The

reorganization process can be as beneficial to restructuring monetary obligations as it is to ensuring

small businesses develop—or, at minimum, refine—the tools, policies and procedures necessary

to successfully function as an operating entity. CMHM is no exception. These notes are made in

an effort to draw attention to facts and positions that may not be otherwise immediately apparent

from the petition, schedules, and statement of financial affairs; CMHM appreciates that fulsome

disclosures are an integral part of the bankruptcy process and wishes, very much, to start this case

by both openly acknowledging certain eccentricities and, too, showing how those eccentricities

can be properly addressed in the coming days, weeks, and months.


Dated: August 7, 2024                          By:    /s/ Maurice B. VerStandig
                                                      Maurice B. VerStandig, Esq.
                                                      The VerStandig Law Firm, LLC
                                                      9812 Falls Road, #114-160
                                                      Potomac, Maryland 20854
                                                      Phone: (301) 444-4600
                                                      mac@mbvesq.com
                                                      Proposed Counsel for the Debtor




                                                  3

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                        RESOLUTION OF SOLE MEMBER AND
                     PRESIDENT OF C M HEAVY MACHINERY, LLC

       The undersigned, constituting the sole equity holder and president of C M Heavy


       WHEREAS, CMHM has become burdened by various debts to third parties; and

       WHEREAS, CMHM believes it can operate at a profitable level if permitted occasion to
reorganize the foregoing debts; and

       IT IS NOW, THEREFORE, RESOLVED as follows:

        1.      Pursuant to Section 2020 of Title 18 of the Oklahoma Statutes, Clint Meadors,
acting on behalf of CMHM, is authorized to take any and all actions necessary to file a petition for
relief pursuant to Section 301 of Title 11 of the United States Code;

       2.      Clint Meadors is authorized to engage counsel to act as general reorganization
counsel to CMHM, and any efforts already so taken are hereby ratified and affirmed to the extent
necessary; and

       3.    Clint Meadors is authorized and directed to work with the general reorganization
counsel of CMHM to reorganize CMHM through whatever means may be most efficient, including
reapportionment of equity, sale and/or liquidation.


Dated this 7th day of August, 2024


C M Heavy Machinery, LLC.


By:    ________________________
       Clint Meadors
       Its: Sole Member and President




                                                 1

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                                  Document     Page 8 of 55
 Fill in this information to identify the case:

 Debtor name         C M Heavy Machinery, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           August 8, 2024                         X /s/ Clint Meadors
                                                                       Signature of individual signing on behalf of debtor

                                                                        Clint Meadors
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                   Document     Page 9 of 55
 Fill in this information to identify the case:
 Debtor name C M Heavy Machinery, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                OKLAHOMA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ARA Insurance                                                  Insurance                                                                                                 $11,414.06
 Agency
 11225 College Blvd
 Suite 250
 Overland Park, KS
 66210
 AT&T Business                                                                          Disputed                                                                            $3,442.04
 211 S. Akard
 Dallas, TX 75202
 Barnhill Contracting                                           Rent                                                                                                      $56,400.00
 Company
 800 Tiffany Blvd
 Suite 200
 P O Box 7948
 Rocky Mount, NC
 27804
 CIG Logistics, Inc.                                                                                                                                                      $20,315.50
 209 W 2nd Street
 Fort Worth, TX 76102
 Dozr, Ltd.                                                                                                                                                               $39,418.17
 318 DUKE ST W
 KITCHENER
 ONTARIO
 CANADA-N2H3Y1
 Enfield Timber, LLC                                            Rent                    Disputed                                                                        $345,714.00
 21144 US Highway
 301
 Enfield, NC 27823
 Gregory Poole                                                  Judgment                                                                                                  $24,866.17
 Equipment Company
 4807 Beryl Road
 Raleigh, NC 27606
 Gungoll, Jackson,                                              Legal Services          Disputed                                                                            $1,670.00
 Box & Devoll, P.C.
 PO Box 1549
 Enid, OK 73702




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    C M Heavy Machinery, LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Hentges &                                                      Legal Services          Disputed                                                                          $19,334.76
 Associates, PLLC
 102 E Thatcher St
 Edmond, OK 73034
 James Supplies,                                                                                                                                                            $2,879.00
 L.L.C.
 c/o Jay V. Harper
 410 S. Chickasaw
 Pauls Valley, OK
 73075
 McAfee & Taft, A                                               Legal Services                                                                                            $30,000.00
 Professional
 Corporatio
 Attn: Michael
 Lauderdale
 211 N. Robinson
 8th Floor, Two
 Leadership Square
 Oklahoma City, OK
 73102
 Norman Wohlgemuth,                                             Legal Services          Disputed                                                                          $10,000.00
 LLP
 401 S. Boston
 Avenue
 Suite 3200
 Tulsa, OK 74103
 Pe Ben Industries                                                                                                                                                        $10,920.80
 Companies, Inc.
 811 Dallas Street
 Houston, TX 77002
 Recovery Logistics,                                                                                                                                                      $97,850.00
 Inc.
 507 S 14th
 Fort Smith, AR 72901
 Standard Freight LLC                                                                                                                                                     $51,105.00
 2401 Independence
 Parkway S
 La Porte, TX 77571
 T&J Grading                                                    Fire Cleanup                                                                                            $110,000.00
 Company LLC
 2054 Kildare Farm
 Rd.
 #352
 Cary, NC 27518
 Tuggle Duggins                                                 Legal services                                       $45,122.36                  $5,000.00                $40,122.36
 400 Bellemeade                                                 retainer paid to
 Street                                                         Tuggle Duggins,
 Suite 800                                                      subject to setoff by
 Greensboro, NC                                                 Tuggle Duggins
 27401




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    C M Heavy Machinery, LLC                                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Unifirst                                                                               Disputed                                                                            $9,125.10
 2100 N Beech
 Avenue
 Broken Arrow, OK
 74012
 Wisner Law                                                     Legal Services                                                                                              $2,378.75
 703 S. Western Road
 Stillwater, OK 74074
 Woita Forest                                                                                                                                                             $21,386.00
 Products, LLC
 601 Calvert Street
 Suite Q
 Lincoln, NE 68502




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                                      Document     Page 12 of 55
 Fill in this information to identify the case:

 Debtor name            C M Heavy Machinery, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        1,315,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       17,837,335.55

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       19,152,335.55


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,619,481.56


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                510.30

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           871,308.99


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,491,300.85




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                   Case 24-80617                            Doc 1              Filed 08/08/24 Entered 08/08/24 00:39:17                                                            Desc Main
                                                                                Document     Page 13 of 55
 Fill in this information to identify the case:

 Debtor name         C M Heavy Machinery, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Mabrey Bank                                             Checking                        5504                                  $114,331.61



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                              $114,331.61
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Legal services retainer paid to Tuggle Duggins, subject to setoff by Tuggle Duggins                                              $5,000.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

 9.        Total of Part 2.
                                                                                                                                                 $5,000.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2024 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                  Case 24-80617                   Doc 1          Filed 08/08/24 Entered 08/08/24 00:39:17                       Desc Main
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 Debtor         C M Heavy Machinery, LLC                                                          Case number (If known)
                Name

10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable

           11a. 90 days old or less:                         1,343,190.26    -                                   0.00 = ....                 $1,343,190.26
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.
                                                                                                                                         $1,343,190.26
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last            Net book value of         Valuation method used      Current value of
                                                     physical inventory          debtor's interest         for current value          debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           2021 McCormick MCL51
           Attachment-Loader for
           Tractor                                                                              $0.00                                           $15,000.00


           2013 Trail King XL22MB
           Attachment-XL Spreader                                                               $0.00                                             $5,000.00


           2014 Caterpillarr D6T XW
           Dozer                                                                                $0.00                                          $285,000.00


           2002 Komatsu D61-PX
           Dozer                                                                                $0.00                                           $49,500.00


           2018 Komatsu D65PX-18
           Dozer                                                                                $0.00                                          $250,000.00


           2018 Komatsu D65PX-18
           Dozer                                                                                $0.00                                          $250,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 2
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 Debtor         C M Heavy Machinery, LLC                                                     Case number (If known)
                Name

           2018 Komatsu D85PX-18
           Dozer                                                                            $0.00                             $400,000.00


           1981 Caterpillar D6D
           Dozer                                                                            $0.00                                 $30,000.00


           2017 Caterpillar 323FL
           Excavator                                                                        $0.00                             $180,000.00


           2010 Komatsu
           PC270LC-8 Excavator                                                              $0.00                                 $80,000.00


           2020 Komatsu GD655-6
           Grader-Motor                                                                     $0.00                             $200,000.00


           2012 Case 821F
           Loader-Wheel                                                                     $0.00                                 $80,000.00


           1963 Caterpillar 594
           Pipelayer                                                                        $0.00                             $175,000.00


           1967 Caterpillar 572
           Pipelayer                                                                        $0.00                                 $75,000.00


           2013 Hotsy Powerwasher                                                           $0.00                                  $1,000.00


           2018 Hamm H121 Roller                                                            $0.00                             $110,000.00


           2021 Maschino
           DMR-3500 Attachment -
           Roller/Tiller X6470                                                              $0.00                                 $18,000.00


           2012 McKinney
           CX10-2252 Shipping
           Container                                                                        $0.00                                  $5,000.00


           2019 Kubota SVL95 Skid
           Steer W/Bucket & Forks                                                           $0.00                                 $65,000.00


           2020 Kubota SVL95-2
           Skid Steer W/Bucket &
           Forks                                                                            $0.00                                 $75,000.00


           2021 McCormick X6 470
           Tractor-X6 470                                                                   $0.00                             $105,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
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 Debtor         C M Heavy Machinery, LLC                                                      Case number (If known)
                Name


 23.       Total of Part 5.
                                                                                                                                   $2,453,500.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Chairs, Desk, Kitchen Table, Kitchen chair(s),
           Massage Chair, Couch, Bar Stools                                                 $0.00                                         $25,000.00


           Assorted office furniture                                                        $0.00                                            Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                              $25,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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 Debtor         C M Heavy Machinery, LLC                                                      Case number (If known)
                Name

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     1995 Chevrolet Kodiak                                                  $0.00                                           $5,000.00


           47.2.     2000 Ford F650                                                         $0.00                                         $30,000.00


           47.3.     2005 Dodge 3500 Truck                                                  $0.00                                         $15,000.00


           47.4.     2019 Ford F550 Truck                                                   $0.00                                        $150,000.00


           47.5.     2014 Ford F150 Truck                                                   $0.00                                         $15,000.00


           47.6.     2019 Ford F350 Truck                                                   $0.00                                         $95,000.00


           47.7.     2016 Trail Sport TRL-16 Enclosed Utility                               $0.00                                           $5,000.00


           47.8.     2011 Horsecreek CH-18 Trailer-18"
                     Car-Hauler Flatbed                                                     $0.00                                           $2,500.00


           47.9.     1994 Fontaine Trailer                                                  $0.00                                         $10,000.00


           47.10
           .     2018 Friesen Bumper pull Trailer                                           $0.00                                           $6,000.00


           47.11
           .     2019 Chappell 535 Gallon Trailer -Water                                    $0.00                                           $5,000.00


           47.12
           .     1979 TRI Hay Trailer                                                       $0.00                                         $15,000.00


           47.13
           .     1980 Fruehauf FBZ F2 Trailer                                               $0.00                                           $5,000.00


           47.14
           .     2008 MXT MC 8X10 Trailer Motorcycle                                        $0.00                                           $2,000.00


           47.15 2018 Trail King TK110HDG Trailer
           .     Semi-Lowboy                                                                $0.00                                        $125,000.00


           47.16
           .     2006 Fountaine 53"Float Trailer-Semi-Float                                 $0.00                                         $15,000.00


           47.17
           .     1975 Lufkin Float Trailer-Flatbed-Float                                    $0.00                                           $7,500.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor         C M Heavy Machinery, LLC                                                      Case number (If known)
                Name

           47.18
           .     1985 International 48"Float Truck-Farm                                     $0.00                                           $8,000.00


           47.19
           .     1997 Freightliner FL70 Truck-Fuel/Lube                                     $0.00                                         $37,000.00


           47.20
           .     2007 Peterbilt 379 Truck-Haul                                              $0.00                                        $120,000.00


           47.21
           .     1999 International A90 Truck-Winch                                         $0.00                                         $71,500.00


           47.22
           .     Lincon SA200 Welder                                                        $0.00                                           $5,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.
                                                                                                                                     $749,500.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used     Current value of
           property                                       extent of           debtor's interest      for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. No address - legal
                     description at Book
                     1269, Page 782 in
                     Okfuskee County Land
                     Records; Approx. 20
                     acres on the North
                     Canadian River                                                         $0.00                                        $115,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
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 Debtor         C M Heavy Machinery, LLC                                                      Case number (If known)
                Name

            55.2.
                     111097 Hwy 27,
                     Okeman, Ok 74859                     Owner                             $0.00                                        $1,200,000.00



 56.        Total of Part 9.
                                                                                                                                      $1,315,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used      Current value of
                                                                              debtor's interest        for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            Website: https://www.cmhm.com                                                   $0.00                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 7
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 Debtor         C M Heavy Machinery, LLC                                                     Case number (If known)
                Name

                                                                                                                         Current value of
                                                                                                                         debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

           Insurance claims for mats lost to a fire in North Carolina                                                         $12,596,813.68



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Claim against Laken Tikler for theft of approximately $1
           million (discounted value based upon potential collectability
           issues)                                                                                                                $250,000.00
           Nature of claim
           Amount requested                                              $0.00


           Claim against Aaron Lowe for theft of approximately $537k
           (discounted to reflect potential collocability issues)                                                                 $300,000.00
           Nature of claim
           Amount requested                                              $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.
                                                                                                                            $13,146,813.68
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 8
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 Debtor          C M Heavy Machinery, LLC                                                                           Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $114,331.61

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $5,000.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                $1,343,190.26

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                          $2,453,500.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $25,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $749,500.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $1,315,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +            $13,146,813.68

 91. Total. Add lines 80 through 90 for each column                                                       $17,837,335.55             + 91b.            $1,315,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $19,152,335.55




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                             page 9
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 Fill in this information to identify the case:

 Debtor name         C M Heavy Machinery, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Caterpillar Financial Services
 2.1
       Corp                                          Describe debtor's property that is subject to a lien                      Unknown                       $0.00
       Creditor's Name


       2120 West End Avenue
       Nashville, TN 37203
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9960
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       Caterpillar Financial Services
 2.2
       Corp                                          Describe debtor's property that is subject to a lien                      Unknown                       $0.00
       Creditor's Name


       2120 West End Avenue
       Nashville, TN 37203
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9890
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5
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 Debtor       C M Heavy Machinery, LLC                                                                 Case number (if known)
              Name




 2.3   First Foundation Bank                         Describe debtor's property that is subject to a lien                          $0.00              $0.00
       Creditor's Name
       18101 Von Karmen Avenue,
       ste 750
       Irvine, CA 92612
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4930
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   Great Plains Bank                             Describe debtor's property that is subject to a lien                   $4,574,359.20   $14,120,003.94
       Creditor's Name                               As set forth in UCC financing statement; Most
                                                     assets of debtor
       601 NW 13th St
       Oklahoma City, OK 73103
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3450
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.5   Great Plains Bank                             Describe debtor's property that is subject to a lien                       Unknown               $0.00
       Creditor's Name
       601 NW 13th St

       Oklahoma City, OK 73103
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4150
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 5
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 Debtor       C M Heavy Machinery, LLC                                                                 Case number (if known)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.




 2.6   Great Plains Bank                             Describe debtor's property that is subject to a lien                       Unknown           $0.00
       Creditor's Name


       601 NW 13th St
       Oklahoma City, OK 73103
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.7   Great Plains National Bank                    Describe debtor's property that is subject to a lien                         $0.00    $150,000.00
       Creditor's Name                               2019 Ford F550 Truck

       2017 W. 3rd
       Elk City, OK 73644
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.8   Great Plains National Bank                    Describe debtor's property that is subject to a lien                         $0.00           $0.00
       Creditor's Name
       601 NW 13th St

       Oklahoma City, OK 73103
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 5
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 Debtor       C M Heavy Machinery, LLC                                                                 Case number (if known)
              Name

       6166
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.9   Komatsu Financial L.P.                        Describe debtor's property that is subject to a lien                       $0.00           $0.00
       Creditor's Name
       8770 W Bryn Mawr Ave
       Suite 100
       Chicago, IL 60631
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 0     Kubota Credit Corp, U.S.A                     Describe debtor's property that is subject to a lien                       $0.00           $0.00
       Creditor's Name


       PO Box 2046
       Grapevine, TX 76099
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1530
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 1     Targeted Lease Capital LLC                    Describe debtor's property that is subject to a lien                       $0.00           $0.00
       Creditor's Name
       5500 Main Street
       Suite 300
       Williamsville , NY 14221
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 4 of 5
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 Debtor       C M Heavy Machinery, LLC                                                                 Case number (if known)
              Name

        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        9090
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.



 2.1
 2      Tuggle Duggins                               Describe debtor's property that is subject to a lien                        $45,122.36           $5,000.00
        Creditor's Name                              Legal services retainer paid to Tuggle Duggins,
        400 Bellemeade Street                        subject to setoff by Tuggle Duggins
        Suite 800
        Greensboro, NC 27401
        Creditor's mailing address                   Describe the lien
                                                     Retainer
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




                                                                                                                                $4,619,481.5
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          6

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
         Blue Bridge Financial, LLC
         11911 Freedom Dr                                                                                       Line   2.3                             3480
         One Fountain Square, set 570
         Reston, VA 20190

         Daniel V. Carsey
         Hall, Estill, Hardwick, Gable, Golden                                                                  Line   2.7
         100 North Broadway
         Suite 2900
         Oklahoma City, OK 73102




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         C M Heavy Machinery, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $510.30         $510.30
           Comptroller of Public Accounts                            Check all that apply.
                                                                        Contingent
           PO Box 149359
                                                                        Unliquidated
           Austin, TX 78714-9359
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                 $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           PO Box 7346
                                                                        Unliquidated
           Philadelphia, PA 19101-7346
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                 $0.00      $0.00
           Oklahoma Tax Commission                                   Check all that apply.
                                                                        Contingent
           300 N Broadway Avenue
                                                                        Unliquidated
           Oklahoma City, OK 73102
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 7
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 Debtor       C M Heavy Machinery, LLC                                                                Case number (if known)
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          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim


 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Aaron Lowe
                                                                                Contingent
          380058 Old Highway 62                                                 Unliquidated
          Okemah, OK 74859                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Cattle
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $11,414.06
          ARA Insurance Agency
          11225 College Blvd
                                                                                Contingent
          Suite 250                                                             Unliquidated
          Overland Park, KS 66210                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Insurance
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,442.04
          AT&T Business
                                                                                Contingent
          211 S. Akard                                                          Unliquidated
          Dallas, TX 75202                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $56,400.00
          Barnhill Contracting Company
          800 Tiffany Blvd
          Suite 200
                                                                                Contingent
          P O Box 7948                                                          Unliquidated
          Rocky Mount, NC 27804                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $393.00
          C T Corporation
                                                                                Contingent
          PO Box 4349                                                           Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Caterpillar Financial Services
          c/o Corporation Service Company
                                                                                Contingent
          10300 Greenbriar Place                                                Unliquidated
          Oklahoma City, OK 73159                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Loan
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,315.50
          CIG Logistics, Inc.
                                                                                Contingent
          209 W 2nd Street                                                      Unliquidated
          Fort Worth, TX 76102                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 7
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 Debtor       C M Heavy Machinery, LLC                                                                Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,499.64
          DLL Finance / Agricredit
                                                                                Contingent
          PO Box 77122                                                          Unliquidated
          Minneapolis, MN 55480                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $39,418.17
          Dozr, Ltd.
                                                                                Contingent
          318 DUKE ST W KITCHENER                                               Unliquidated
          ONTARIO CANADA-N2H3Y1                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $345,714.00
          Enfield Timber, LLC
                                                                                Contingent
          21144 US Highway 301                                                  Unliquidated
          Enfield, NC 27823                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          FedEx
                                                                                Contingent
          PO Box 223125                                                         Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $24,866.17
          Gregory Poole Equipment Company
                                                                                Contingent
          4807 Beryl Road                                                       Unliquidated
          Raleigh, NC 27606                                                     Disputed
          Date(s) debt was incurred July 25, 2023                            Basis for the claim: Judgment
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,670.00
          Gungoll, Jackson, Box & Devoll, P.C.
                                                                                Contingent
          PO Box 1549                                                           Unliquidated
          Enid, OK 73702                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Legal Services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $19,334.76
          Hentges & Associates, PLLC
                                                                                Contingent
          102 E Thatcher St                                                     Unliquidated
          Edmond, OK 73034                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Legal Services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Holt Texas Ltd.
                                                                                Contingent
          5665 SE Loop 410                                                      Unliquidated
          San Antonio, TX 78222                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       C M Heavy Machinery, LLC                                                                Case number (if known)
              Name

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,879.00
          James Supplies, L.L.C.
          c/o Jay V. Harper
                                                                                Contingent
          410 S. Chickasaw                                                      Unliquidated
          Pauls Valley, OK 73075                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Janae L. Wright
                                                                                Contingent
          2914 Colonial Lane                                                    Unliquidated
          Edmond, OK 73013                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Kubota Credit Corporation USA
                                                                                Contingent
          PO Box 2046                                                           Unliquidated
          Grapevine, TX 76099                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Business Loan
          Last 4 digits of account number 7160                               Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Mabrey Bank
                                                                                Contingent
          PO Box 130                                                            Unliquidated
          Bixby, OK 74008                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number 9240                               Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Mabrey Bank
                                                                                Contingent
          PO Box 130                                                            Unliquidated
          Bixby, OK 74008                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number 2920                               Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $30,000.00
          McAfee & Taft, A Professional Corporatio
          Attn: Michael Lauderdale
          211 N. Robinson
                                                                                Contingent
          8th Floor, Two Leadership Square                                      Unliquidated
          Oklahoma City, OK 73102                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Legal Services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,197.00
          Nolen Propane Company
                                                                                Contingent
          2378 Hwy. 75                                                          Unliquidated
          Wetumka, OK 74883                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       C M Heavy Machinery, LLC                                                                Case number (if known)
              Name

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,000.00
          Norman Wohlgemuth, LLP
          401 S. Boston Avenue
                                                                                Contingent
          Suite 3200                                                            Unliquidated
          Tulsa, OK 74103                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim: Legal Services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Okemah Oil Company
                                                                                Contingent
          4 E Broadway St                                                       Unliquidated
          Okemah, OK 74859                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Oklahoma Natural Gas
                                                                                Contingent
          PO Box 219296                                                         Unliquidated
          Kansas City, MO 64121                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $10,920.80
          Pe Ben Industries Companies, Inc.
                                                                                Contingent
          811 Dallas Street                                                     Unliquidated
          Houston, TX 77002                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $97,850.00
          Recovery Logistics, Inc.
                                                                                Contingent
          507 S 14th                                                            Unliquidated
          Fort Smith, AR 72901                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Robert D. Wilson, PC
          1900 Preston Road
                                                                                Contingent
          Suite 267-72                                                          Unliquidated
          Plano, TX 75093                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                Unknown
          Scott Equipment
                                                                                Contingent
          6149 Hwy 90 E                                                         Unliquidated
          Lake Charles, LA 70615                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $51,105.00
          Standard Freight LLC
                                                                                Contingent
          2401 Independence Parkway S                                           Unliquidated
          La Porte, TX 77571                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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              Name

 3.31      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $110,000.00
           T&J Grading Company LLC
           2054 Kildare Farm Rd.
                                                                                Contingent
           #352                                                                 Unliquidated
           Cary, NC 27518                                                       Disputed
           Date(s) debt was incurred                                         Basis for the claim: Fire Cleanup
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.32      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $9,125.10
           Unifirst
                                                                                Contingent
           2100 N Beech Avenue                                                  Unliquidated
           Broken Arrow, OK 74012                                               Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.33      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Warren Power & Machinery, Inc.
           c/o Corporation Service Company
                                                                                Contingent
           10300 Greenbriar Place                                               Unliquidated
           Oklahoma City, OK 73159                                              Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Waukesha-Pearce Industries, LLC
                                                                                Contingent
           PO Box 65038                                                         Unliquidated
           Houston, TX 77235                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.35      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           Wheeler Metals
                                                                                Contingent
           3100 W 40th Street N                                                 Unliquidated
           Muskogee, OK 74401                                                   Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $2,378.75
           Wisner Law
                                                                                Contingent
           703 S. Western Road                                                  Unliquidated
           Stillwater, OK 74074                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim: Legal Services
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $21,386.00
           Woita Forest Products, LLC
           601 Calvert Street
                                                                                Contingent
           Suite Q                                                              Unliquidated
           Lincoln, NE 68502                                                    Disputed
           Date(s) debt was incurred                                         Basis for the claim:
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 6 of 7
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 Debtor        C M Heavy Machinery, LLC                                                          Case number (if known)
               Name

            Name and mailing address                                                             On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                 related creditor (if any) listed?             account number, if
                                                                                                                                               any
 4.1        Bob Cherot
            Voss, Michaels, Lee & Associates, Inc.                                               Line     3.2
            PO Box 1829
                                                                                                        Not listed. Explain
            Holland, MI 49422-1829

 4.2        Jerome S. Sepkowitz, Esq.
            Derryberry & Naifeh, LLP                                                             Line     3.6
            4800 North Lincoln Boulevard
                                                                                                        Not listed. Explain
            Oklahoma City, OK 73105

 4.3        Mylon D. Smith
            Crowe & Dunlevy, a Professional Corporation                                          Line     3.12
            Braniff Building
                                                                                                        Not listed. Explain
            423 N. Robinson Avenue, Suite 100
            Oklahoma City, OK 73102

 4.4        Ross Plourde, Esq.
            211 N. Robinson                                                                      Line     3.21
            8th Floor
                                                                                                        Not listed. Explain
            Two Leadership Square
            Oklahoma City, OK 73102


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                        510.30
 5b. Total claims from Part 2                                                                       5b.    +     $                    871,308.99

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.          $                      871,819.29




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         C M Heavy Machinery, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.1.        State what the contract or                   Lease at will for yard to
             lease is for and the nature of               store mats
             the debtor's interest
                                                                                          Barnhill Contracting Company
                 State the term remaining                                                 800 Tiffany Blvd
                                                                                          Suite 200
             List the contract number of any                                              P O Box 7948
                   government contract                                                    Rocky Mount, NC 27804


 2.2.        State what the contract or                   Lease at will for storage
             lease is for and the nature of               of mats
             the debtor's interest

                 State the term remaining
                                                                                          Enfield Timber, LLC
             List the contract number of any                                              21144 US Highway 301
                   government contract                                                    Enfield, NC 27823




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         C M Heavy Machinery, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.3     Clint Meadors                     11097 Highway 27                                 Great Plains Bank                   D   2.4
                                               Okemah, OK 74859                                                                     E/F
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         C M Heavy Machinery, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF OKLAHOMA

 Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                     amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                    Gross revenue
       which may be a calendar year                                                            Check all that apply                  (before deductions and
                                                                                                                                     exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             Unknown
       From 01/01/2024 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             Unknown
       From 01/01/2023 to 12/31/2023
                                                                                                   Other


       For year before that:                                                                       Operating a business                             Unknown
       From 01/01/2022 to 12/31/2022
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                       $9,378,156.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue     Gross revenue from
                                                                                                                                     each source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1

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          None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.                                                                                                                      Secured debt
               Kirby-Smith Machinery, Inc.                                 Approx. July                     $23,599.43
               c/o Len Cason                                               17, 2024                                              Unsecured loan repayments
               201 Robert S. Kerr Avenue                                                                                         Suppliers or vendors
                                                                                                                                 Services
               Suite 1600
                                                                                                                                 Other
               Oklahoma City, OK 73102

       3.2.                                                                                                                      Secured debt
               Saber Transportation Support Inc.                           July 31, 2024                      $3,938.16
               1017 15th Ave NW                                                                                                  Unsecured loan repayments
               Ardmore, OK 73401                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.3.                                                                                                                      Secured debt
               Federal Motor Carrier Safety Administrat                    July 26, 2024                    $13,360.00
               1200 NEW JERSEY AVENUE, SE                                                                                        Unsecured loan repayments
               Washington, DC 20590                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.4.                                                                                                                      Secured debt
               Komatsu Financial L.P.                                      July 26, 2024                      $3,802.01
               8770 W Bryn Mawr Ave                                                                                              Unsecured loan repayments
               Suite 100                                                                                                         Suppliers or vendors
                                                                                                                                 Services
               Chicago, IL 60631
                                                                                                                                 Other

       3.5.                                                                                                                      Secured debt
               Wells Fargo, NA                                             July 18, 2024                    $23,599.43
               420 Montgomery Street                                                                                             Unsecured loan repayments
               San Francisco, CA 94104                                                                                           Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.6.                                                                                                                      Secured debt
               Komatsu Financial L.P.                                      May 29, 2024                       $3,802.01
               8770 W Bryn Mawr Ave                                                                                              Unsecured loan repayments
               Suite 100                                                                                                         Suppliers or vendors
                                                                                                                                 Services
               Chicago, IL 60631
                                                                                                                                 Other

       3.7.                                                                                                                      Secured debt
               Kirby-Smith Machinery, Inc.                                 May 23, 2024                       $5,000.00
               c/o Len Cason                                                                                                     Unsecured loan repayments
               201 Robert S. Kerr Avenue                                                                                         Suppliers or vendors
                                                                                                                                 Services
               Suite 1600
                                                                                                                                 Other
               Oklahoma City, OK 73102




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2

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 Debtor       C M Heavy Machinery, LLC                                                                  Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Clint Meadors                                               Various                             Unknown           Mr. Meadors has periodically
               11097 Highway 27                                                                                                  charged personal expenses on a
               Okemah, OK 74859                                                                                                  business debit card and may have
               Owner                                                                                                             taken one or more draws from the
                                                                                                                                 business in the preceding
                                                                                                                                 calendar year

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Great Plains National Bank v. C                  Civil                      District Court in and for                      Pending
               M Heavy Machinery, LLC, et al.                                              Ofuskee County, Oklahoma                       On appeal
               CJ-2024-00034                                                               PO Box 30                                      Concluded
                                                                                           Okemah, OK 74859

       7.2.    In re Application for CM Heavy                   Civil                      District Court in and for                      Pending
               Machinery to Issue Court Order                                              Cleveland County, Oklahoma                     On appeal
               Title                                                                       200 S. Peters Ave.                             Concluded
               CV-2024-1452                                                                Norman, OK 73069

       7.3.    CM Heavy Machinery, LLC, et                      Writ of Mandamus           Supreme Court of the State of                  Pending
               al. v. The Honorable Lawrence                                               Oklahoma                                       On appeal
               W. Parish, et al.                                                           2100 N. Lincoln Blvd.                          Concluded
               PR-121631                                                                   Suite 1
                                                                                           Oklahoma City, OK 73105




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3

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 Debtor       C M Heavy Machinery, LLC                                                                     Case number (if known)



               Case title                                       Nature of case               Court or agency's name and             Status of case
               Case number                                                                   address
       7.4.    Great Plains National Bank v.                    Civil                        District Court in and for                     Pending
               CM Heavy Machinery, LLC, et                                                   Ofuskee County, Oklahoma                      On appeal
               al.                                                                           PO Box 30                                     Concluded
               CJ-2023-00018                                                                 Okemah, OK 74859

       7.5.    Caterpillar Financial Services v.                Civil                        District Court in and for                     Pending
               CM Heavy Machinery, LLC                                                       Ofuskee County, Oklahoma                      On appeal
               CJ-2023-00033                                                                 PO Box 30                                     Concluded
                                                                                             Okemah, OK 74859

       7.6.    Lowe v. CM Heavy Machinery                       Civil                        District Court in and for                     Pending
               LLC, et al.                                                                   Ofuskee County, Oklahoma                      On appeal
               CJ-2023-00034                                                                 PO Box 30                                     Concluded
                                                                                             Okemah, OK 74859

       7.7.    Gregory Poole Equipment                          Civil                        District Court in and for                     Pending
               Company v. CM Heavy                                                           Ofuskee County, Oklahoma                      On appeal
               Machinery, LLC                                                                PO Box 30                                     Concluded
               CV-2024-00024                                                                 Okemah, OK 74859

       7.8.    Enfield Timber, LLC v. CM                        Civil                        General Court of Justice                      Pending
               Heavy Machinery, LLC                                                          Superior Division - Halifax                   On appeal
               2023-CVS-693                                                                  County                                        Concluded
                                                                                             357 Ferrell Lane
                                                                                             Halifax, NC 27839


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).
       Pipeline mats                                            None as of present                                         August 20, 2023             $12,596,813.68


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy


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 Debtor        C M Heavy Machinery, LLC                                                                  Case number (if known)



    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11.1.    The VerStandig Law Firm, LLC
                1452 W. Horizon Ridge Pkwy
                #665                                                                                                           August 5,
                Henderson, NV 89012                                                                                            2024                     $5,000.00

                Email or website address
                http://www.verstandiglaw.com

                Who made the payment, if not debtor?




       11.2.    The VerStandig Law Firm, LLC
                1452 W. Horizon Ridge Pkwy
                #665                                                                                                           August 7,
                Henderson, NV 89012                                                                                            2024                    $20,000.00

                Email or website address
                http://www.verstandiglaw.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers           Total amount or
                                                                                                                       were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer           Total amount or
               Address                                          payments received or debts paid in exchange              was made                         value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5

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    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Does debtor
                                                                     access to it                                                                still have it?
       Enfield Timber, LLC                                           Clint Meadors                        Oil mats                                  No
       21144 US Highway 301                                          11097 Highway 27                                                               Yes
       Enfield, NC 27823                                             Okemah, OK 74859


       Barnhill Contracting Company                                  Clint Meadors                        Oil mats                                  No
       800 Tiffany Blvd                                              11097 Highway 27                                                               Yes
       Suite 200                                                     Okemah, OK 74859
       P O Box 7948
       Rocky Mount, NC 27804

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 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                                     Value
       Various                                                                                            Equipment is stored for other                         Unknown
                                                                                                          persons in the business' yard in
                                                                                                          Okemah


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

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              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Janae L. Wright                                                                                                      Past two years
                    2914 Colonial Lane
                    Edmond, OK 73013

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Clint Meadors                                 11097 Highway 27                                     President and Sole Member             100
                                                     Okemah, OK 74859



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.




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               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Clint Meadors
       .    11097 Highway 27
               Okemah, OK 74859                                 See Item #4                                              See Item #4       See Item #4

               Relationship to debtor
               Sole Member & President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          August 8, 2024

 /s/    Clint Meadors                                                    Clint Meadors
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9

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                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Clint Meadors                                                                                                                  Sole Member
 11097 Highway 27
 Okemah, OK 74859


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       August 8, 2024                                                   Signature /s/ Clint Meadors
                                                                                            Clint Meadors

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept ....................................................................                  $
             Prior to the filing of this statement I have received .......................................................                     $
             Balance Due ...................................................................................................................   $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of...........................                                 $              25,000.00*
             The undersigned shall bill against the retainer at an hourly rate of ...............................                              $                   400.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
               All legal work associated with the management of a Chapter 11 bankruptcy case, including contested matters, adversary
               proceedings, and any appeals.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Any work extraneous to the bankruptcy case and any representation of the debtor in any court except for (i) the bankruptcy
               court in which this matter is filed; and (ii) any appellate court of competent jurisdiction.




                   *$6,368.00 was drawn from this retainer, shortly before filing, to pay for bankruptcy preparation services and as advanced
                   payment of the filing fee. The remaining retainer balance is $18,632.00.




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                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     August 8, 2024                                                             /s/ Maurice VerStandig
     Date                                                                       Maurice VerStandig
                                                                                Signature of Attorney
                                                                                The VerStandig Law Firm, LLC
                                                                                9812 Falls Road, #114-160
                                                                                Potomac, Maryland 20854
                                                                                  Fax:
                                                                                mac@mbvesq.com
                                                                                Name of law firm




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                                              VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:        August 8, 2024                                            /s/ Clint Meadors
                                                                         Clint Meadors/President
                                                                        Signer/Title




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                         Aaron Lowe
                         380058 Old Highway 62
                         Okemah, OK 74859


                         ARA Insurance Agency
                         11225 College Blvd Suite 250
                         Overland Park, KS 66210


                         AT&T Business
                         211 S. Akard
                         Dallas, TX 75202


                         Barnhill Contracting Company
                         800 Tiffany Blvd Suite 200 P O Box 7948
                         Rocky Mount, NC 27804


                         Blue Bridge Financial, LLC
                         11911 Freedom Dr
                         One Fountain Square, set 570
                         Reston, VA 20190


                         Bob Cherot
                         Voss, Michaels, Lee & Associates, Inc.
                         PO Box 1829
                         Holland, MI 49422-1829


                         C T Corporation
                         PO Box 4349
                         Carol Stream, IL 60197


                         Caterpillar Financial Services
                         c/o Corporation Service Company
                         10300 Greenbriar Place
                         Oklahoma City, OK 73159


                         Caterpillar Financial Services Corp
                         2120 West End Avenue
                         Nashville, TN 37203


                         CIG Logistics, Inc.
                         209 W 2nd Street
                         Fort Worth, TX 76102


                         Clint Meadors
                         11097 Highway 27
                         Okemah, OK 74859


                         Comptroller of Public Accounts
                         PO Box 149359
                         Austin, TX 78714-9359


                         Daniel V. Carsey
                         Hall, Estill, Hardwick, Gable, Golden
                         100 North Broadway Suite 2900
                         Oklahoma City, OK 73102



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                         DLL Finance / Agricredit
                         PO Box 77122
                         Minneapolis, MN 55480


                         Dozr, Ltd.
                         318 DUKE ST W KITCHENER
                         ONTARIO CANADA-N2H3Y1


                         Enfield Timber, LLC
                         21144 US Highway 301
                         Enfield, NC 27823


                         FedEx
                         PO Box 223125
                         Pittsburgh, PA 15251


                         First Foundation Bank
                         18101 Von Karmen Avenue, ste 750
                         Irvine, CA 92612


                         Great Plains Bank
                         601 NW 13th St
                         Oklahoma City, OK 73103


                         Great Plains Bank
                         601 NW 13th St
                         Oklahoma City, OK 73103


                         Great Plains National Bank
                         2017 W. 3rd
                         Elk City, OK 73644


                         Great Plains National Bank
                         601 NW 13th St
                         Oklahoma City, OK 73103


                         Gregory Poole Equipment Company
                         4807 Beryl Road
                         Raleigh, NC 27606


                         Gungoll, Jackson, Box & Devoll, P.C.
                         PO Box 1549
                         Enid, OK 73702


                         Hentges & Associates, PLLC
                         102 E Thatcher St
                         Edmond, OK 73034


                         Holt Texas Ltd.
                         5665 SE Loop 410
                         San Antonio, TX 78222


                         Internal Revenue Service
                         PO Box 7346
                         Philadelphia, PA 19101-7346


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                         James Supplies, L.L.C.
                         c/o Jay V. Harper 410 S. Chickasaw
                         Pauls Valley, OK 73075


                         Janae L. Wright
                         2914 Colonial Lane
                         Edmond, OK 73013


                         Jerome S. Sepkowitz, Esq.
                         Derryberry & Naifeh, LLP
                         4800 North Lincoln Boulevard
                         Oklahoma City, OK 73105


                         Komatsu Financial L.P.
                         8770 W Bryn Mawr Ave Suite 100
                         Chicago, IL 60631


                         Kubota Credit Corp, U.S.A
                         PO Box 2046
                         Grapevine, TX 76099


                         Kubota Credit Corporation USA
                         PO Box 2046
                         Grapevine, TX 76099


                         Mabrey Bank
                         PO Box 130
                         Bixby, OK 74008


                         McAfee & Taft, A Professional Corporatio
                         Attn: Michael Lauderdale
                         211 N. Robinson 8th Floor, Two Leadershi
                         Oklahoma City, OK 73102


                         Mylon D. Smith
                         Crowe & Dunlevy, a Professional Corporat
                         Braniff Building 423 N. Robinson Avenue,
                         Oklahoma City, OK 73102


                         Nolen Propane Company
                         2378 Hwy. 75
                         Wetumka, OK 74883


                         Norman Wohlgemuth, LLP
                         401 S. Boston Avenue Suite 3200
                         Tulsa, OK 74103


                         Okemah Oil Company
                         4 E Broadway St
                         Okemah, OK 74859


                         Oklahoma Natural Gas
                         PO Box 219296
                         Kansas City, MO 64121




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                         Oklahoma Tax Commission
                         300 N Broadway Avenue
                         Oklahoma City, OK 73102


                         Pe Ben Industries Companies, Inc.
                         811 Dallas Street
                         Houston, TX 77002


                         Recovery Logistics, Inc.
                         507 S 14th
                         Fort Smith, AR 72901


                         Robert D. Wilson, PC
                         1900 Preston Road Suite 267-72
                         Plano, TX 75093


                         Ross Plourde, Esq.
                         211 N. Robinson
                         8th Floor Two Leadership Square
                         Oklahoma City, OK 73102


                         Scott Equipment
                         6149 Hwy 90 E
                         Lake Charles, LA 70615


                         Standard Freight LLC
                         2401 Independence Parkway S
                         La Porte, TX 77571


                         T&J Grading Company LLC
                         2054 Kildare Farm Rd. #352
                         Cary, NC 27518


                         Targeted Lease Capital LLC
                         5500 Main Street Suite 300
                         Williamsville , NY 14221


                         Tuggle Duggins
                         400 Bellemeade Street Suite 800
                         Greensboro, NC 27401


                         Unifirst
                         2100 N Beech Avenue
                         Broken Arrow, OK 74012


                         Warren Power & Machinery, Inc.
                         c/o Corporation Service Company
                         10300 Greenbriar Place
                         Oklahoma City, OK 73159


                         Waukesha-Pearce Industries, LLC
                         PO Box 65038
                         Houston, TX 77235




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                         Wheeler Metals
                         3100 W 40th Street N
                         Muskogee, OK 74401


                         Wisner Law
                         703 S. Western Road
                         Stillwater, OK 74074


                         Woita Forest Products, LLC
                         601 Calvert Street Suite Q
                         Lincoln, NE 68502




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                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for C M Heavy Machinery, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  August 8, 2024                                                         /s/ Maurice Verstandig
 Date                                                                    Maurice Verstandig
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for C M Heavy Machinery, LLC
                                                                         The Belmont Firm
                                                                         1050 Connecticut NW
                                                                         Suite 500
                                                                         Washington, DC 20036
                                                                          Fax:
                                                                         mac@mbvesq.com




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